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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 12cr5212 BTM

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
OSCAR EDUARDO HUERTA (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

X    an indictment has been filed in case FU%70against the defendant
     DQGthe Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment/Information:

     21:841 and 846 - Possession of Marijuana for Distribution and

    Conspiracy to Posses Marijuana with Intent to Distribute

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 1/22/2013
                                            Barbara L. Major
                                            U.S. Magistrate Judge
